EXHIBIT 15
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                            Case No. 1:25-CV-10910-ADB

                       Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                       Defendants.



                           DECLARATION OF TODD WOLFSON

I, Todd Wolfson, hereby declare as follows:

       1.      I currently serve as President of the American Association of University Professors

(“AAUP”), a plaintiff in this action. I have served in that position since June 2024. I previously

held various leadership roles for the Rutgers University chapter of AAUP, including as the chap-

ter’s President and Vice President.

       2.      I am a trained anthropologist and an Associate Professor of Journalism and Media

Studies at Rutgers. I received my Ph.D. in Anthropology and Social and Cultural Foundations of

Education from the University of Pennsylvania.

       3.      I have personal knowledge of the facts set forth in this declaration in support of

Plaintiff’s Motion for Summary Judgment, and if called as a witness in this action, I could and

would testify competently to these facts.

       4.      The AAUP is a membership association and labor union of faculty and academic

professionals with chapters at colleges and universities throughout the country.
       5.      The AAUP is a 501(c)(6) organization headquartered in Washington, D.C.

       6.      The primary mission of the AAUP is to advance academic freedom and shared gov-

ernance in higher education, define fundamental professional values and standards for higher ed-

ucation, promote the economic security of academic workers, and ensure higher education’s con-

tribution to the common good.

       7.      The AAUP was founded by John Dewey and other preeminent scholars in 1915 to

defend the ability of scholars, researchers, and educators to teach, write, and research without po-

litical and economic retaliation based on their viewpoints. Since its founding, the AAUP has

helped to shape American higher education by developing the standards and procedures that main-

tain quality in education and academic freedom in this country’s colleges and universities.

Harms to AAUP Members

       8.      The AAUP has approximately 48,000 members on college and university campuses

across the country, including approximately 247 members at Harvard University (the “Harvard-

AAUP members”). Many of these members, including members at Harvard, rely on federal grants

to support their research, scholarship, and teaching activities.

       9.      I am aware that the Trump administration has taken a series of actions targeting

Harvard University. In particular, I am aware that on March 10, 2025, the federal government sent

a letter to Harvard and many other universities warning of potential enforcement actions. I am

aware that on March 31, 2025 the U.S. Department of Education (“DOE”), U.S. Department of

Health and Human Services (“HHS”), and U.S. General Services Administration (“GSA”) an-

nounced a comprehensive review of federal contracts and grants at Harvard University and its

affiliates. I am aware of the April 3, 2025 letter from officials at the GSA, HHS, and DOE that

was made public and demanded that Harvard immediately implement a long list of “non-




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exhaustive areas of reform” to “remain a responsible recipient of federal taxpayer dollars” (the

“April 3 Letter”). I am aware that this was followed by a subsequent letter from Trump admin-

istration officials on April 11, 2025 with more detailed demands that “incorporate[ed] and su-

persed[ed] the terms of” the April 3 Letter (the “April 11 Letter,” and together with the April 3

Letter, the “Demand Letters”). I have read the demands listed in the Demand Letters, which were

made public.

       10.     I am aware that on April 14, 2025 the DOJ Task Force to Combat Anti-Semitism

froze over $2.2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds under these grants despite receiving requests from Harvard Uni-

versity to do so.

       11.     I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)

terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the DOE, Department of De-

fense, the National Science Foundation, and the Department of Housing and Urban Development

each terminated their grants to Harvard. Letters communicating each of these terminations were

made public, and I have read each of those letters.

       12.     Harvard-AAUP members will suffer harm to their research, work, reputation, aca-

demic freedom, and ability to pursue their careers if federal funding is not restored or if the Harvard

administration accedes to the federal government’s demands listed in the Demand Letters.

       13.     I am aware of and can identify Harvard-AAUP members who have lost their federal

funding as a result of the Trump administration’s series of actions targeting Harvard. The




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continued viability of these AAUP members’ work is now uncertain, making it difficult for them

to continue their research, plan future research, maintain professional relationships, and recruit

potential staff to work on their projects. Since the mass termination of NIH and NSF grants, several

members have started actively seeking to move their careers and research programs out of the

United States.

       14.       I am aware of and can identify Harvard-AAUP members whose speech and aca-

demic freedom has been chilled as a result of the federal government’s series of actions targeting

Harvard. Some Harvard-AAUP members have started to self-censor their language both inside and

outside the classroom following the Trump administration series of actions targeting Harvard.

Some Harvard-AAUP members now feel limited in what they can say in and outside the classroom

for fear of the loss of additional funding to themselves or the University. Some members are con-

cerned that they will not be able to continue working in their chosen fields, since their work deals

with topics, like health equity or climate change, that are disfavored by the Trump administration.

       15.       I am aware of and can identify Harvard-AAUP members who are concerned about

losing their jobs or ability to continue to support their livelihoods, either as a direct result of the

Trump administration’s termination of over $2.2 billion in federal funds to Harvard University, or

because they fear they may be let go by Harvard if they engage in speech the Trump administration

disfavors.

       16.       I am also aware of and can identify AAUP members at other colleges and univer-

sities who are similarly concerned about losing their jobs or ability to support their livelihoods,

and who now feel limited in what they can say in and outside the classroom for fear of the Trump

administration summarily canceling federal funding to their programs, universities, or colleges

without following applicable statutory requirements or other law in the same way that the Trump




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Administration has canceled funding at Harvard, Columbia, Cornell, and Northwestern, and threat-

ened to cancel federal funding at numerous other universities and colleges.

Harms to AAUP as an Organization

       17.     The Trump administration’s termination of more than $2.2 billion in federal grants

and contracts to Harvard University, along with the Trump administration’s demands that Harvard

make Trump administration-imposed reforms to receive federal financial assistance, has harmed

and is continuing to harm AAUP as an organization.

       18.     As noted above, the primary mission of the AAUP is to advance academic freedom

and shared governance in higher education, define fundamental professional values and standards

for higher education, promote the economic security of academic workers, and ensure higher ed-

ucation’s contribution to the common good. The Trump administration’s threats to cancel and

cancellation of federal funding at Harvard and other universities and colleges, along with its de-

mands that Harvard implement a long list of “reforms” to receive federal funding, is directly im-

pairing the AAUP’s mission.

       19.     As part of its core activities, the AAUP regularly consults, works with, and repre-

sents local chapters and individual members regarding academic freedom, shared governance, and

other issues involving the employment relationship between AAUP members and their university

employers, including but not limited to collective bargaining.

       20.     For example, the AAUP maintains a standing committee, known as Committee A

on Academic Freedom and Tenure, which “[p]romotes principles of academic freedom, tenure,

and due process in higher education through the development of policy documents and reports

relating to these subjects and the application of those principles to particular situations that are

brought to its attention.”




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       21.     The AAUP also conducts investigations of individual complaints of institutions vi-

olating academic freedom principles in relationship to AAUP members, issues reports of the re-

sults of some of those investigations, and advocates with those institutions to seek to remedy such

violations and prevent future violations from occurring. Such investigations are authorized by the

AAUP Executive Director, and conducted by a subcommittee appointed by the Executive Director.

       22.     Through its local chapters, including the Harvard Faculty Chapter, the AAUP also

provides for the representation of individual members regarding academic freedom, shared gov-

ernance, and due process issues in proceedings before their university employers. The AAUP has

diverted internal resources of staff time and expenses to assist Harvard members prepare to re-

spond to the demands the Trump administration.

       23.     I understand that Title VI and its implementing regulations require the government

to provide notice and a hearing before terminating federal funding to any program based on a

violation of Title VI. I understand that the government did not provide any notice to Harvard before

terminating its federal funding. If the government were to provide notice, both the AAUP and

individual AAUP members would seek to participate in that hearing to protect the federal funding

supporting the work of AAUP members at Harvard and to protect the principles of academic free-

dom, due process, and shared governance that are at the core of the AAUP’s mission.

       24.     The Trump administration’s March 10 letter, March 31 press release, and the De-

mand Letters, along with other public statements made by government officials, disrupt and frus-

trate the AAUP’s efforts to secure principles of academic freedom, shared governance, and due

process at Harvard and elsewhere.

       25.     The government’s actions and statements have made it more difficult and resource-

intensive for the AAUP to carry out its representation of chapters and individual members, in




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particular on issues of academic freedom. Because of government pressure on Harvard and other

universities to abandon their commitment to academic freedom, shared governance, and due pro-

cess principles, the AAUP must now expend more time and money to ensure that its members’

rights in these regards are protected.

       26.     For example, in response to the significant influx of inquiries from chapter leaders

and members regarding the effect of the government’s actions on members’ academic freedom,

shared governance, and due process rights, and to ensure that individual members are adequately

represented before their university employers, AAUP staff have had to conduct nationwide calls

and virtual meetings with chapter leaders regarding the government’s actions and how to represent

individual members in the face of such actions.

       27.     The Trump administration’s threats to cancel funding at Harvard and other univer-

sities and colleges also make it harder for the AAUP to achieve its goals of promoting academic

freedom, shared governance, and due process principles in part because Harvard has taken steps

in direct response to the Trump administration’s actions to undermine those principles, and Har-

vard and other higher educational institutions are now less willing to protect those principles in

the face of threatened and actual funding cuts from the federal government. The Trump admin-

istration has directly impaired the AAUP’s mission by pressuring Harvard to curtail speech and

academic freedom on campus.

       28.     The AAUP has committed staff and leadership time to support members of

Havard’s AAUP chapter regarding how to respond to the government’s actions, including the De-

mand Letters and federal funding terminations.

       29.     The government’s actions and statements have also caused a pervasive sense of fear

and intimidation among AAUP members. I am aware that some AAUP members no longer feel




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comfortable participating in and supporting the AAUP’s activities, or asserting their academic

freedom, shared governance, and due process rights, because of the federal government’s conduct.

As just some examples, in direct response to the government’s threats to cut federal funding and

actual termination of funding to Harvard and to other universities, some AAUP members at uni-

versities across the country have cancelled conferences, pulled papers set for publication, decided

not to teach classes or certain topics within those classes that may be perceived as being at odds

with the Trump administration’s preferred viewpoints, stopped attending talks, refrained from at-

tending lawful protests, and stepped down from their AAUP chapter board.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.




Dated:       May 30, 2025                            Signed:

                                                     Todd Wolfson
                                                     President of the AAUP




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